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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,              )
                                        ) Criminal No. 3:20-cr-00104
               v.                       )
                                        )
 ANTONIO LASHAWN WARFIELD,              )
                                        )
               Defendant.               )

                        FINAL ORDER OF FORFEITURE

      Upon review of the United States’ Motion for Final Order of Forfeiture, the

Court finds:

      1.       A Preliminary Order of Forfeiture was entered forfeiting certain

property.

      2.       The United States caused to be published on the official government

internet site notice of forfeiture of the property included in the Preliminary Order of

Forfeiture, and the time to file any claims has run.

      IT IS ORDERED, ADJUDGED AND DECREED that the following

property is hereby forfeited to the United States:

      A loaded Taurus, nine-millimeter caliber, semi-automatic pistol (SN:
      TLT00754).

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right,

title, and interest to the property described above is hereby condemned, forfeited, and

vested in the United States of America and shall be disposed of according to law.

      IT IS FURTHER ORDERED that the United States District Court shall

retain jurisdiction in the case for the purpose of enforcing this Order.



      IT IS SO ORDERED.
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                              ____________________________________
                              STEPHANIE M. ROSE, Chief Judge
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA




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